1of4

Case 1:17-cv-02989-AT Document 1-1 Filed 08/08/17 Page 1 of 4
http://justice.fultoncountyga.gov/PA SupCrtCM/CaseDetail.aspx?Cas...

Skip to Main Content Logout My Account Search Menu All Case Records Search Refine Search Back

Location : All-Superior Help

 

 

REGISTER OF ACTIONS
CASE NO. 2017CV292233
Donna Curling,Coalition for Good Governance,Donna Case Tye: DECLARATORY
Price,Jeffrey Schoenberg,Laura Digges,William Digges, YPe: JUDGMENT CIVIL
lll. Ricardo DavisVS.Brian Kemp,David Worley,Rebecca § Date Filed: 07/03/2017
Sullivan,Ralph ("Rusty") Simpson,Seth Harp,State Election § Location: EJ6
Board,Richard Barron,Mary Cooney,Vernetta Nuriddin,David § Judicial Officer: RUSSELL, CONSTANCE
Burge,Stan Matarazzo,Aaron Johnson,Fulton County Board of § $B176 Case Cross Reference 0602017051402
Registration and Elections,Maxine Daniels,Michael § Number:
Coveny,Anthony Lewis,Leona Perry,Samuel Tillman,Baoky §
Vu,DeKalb County Board of Registrations and Elections,Janine §
Eveler,Phil Daniell,Fred Aiken,Joe Pettit,Jessica Brooks,Darry!
Wilson,Cobb County Board of Elections and Registration,Merle
King,Center for Election Systems at Kennesaw State University
PARTY INFORMATION
Attorneys

DEFENDANT Aiken, Fred

DEFENDANT Barron, Richard
DEFENDANT Brooks, Jessica
DEFENDANT Burge, David J.

DEFENDANT Center for Election Systems at
Kennesaw State University

DEFENDANT Cobb County Board of Elections and
Registration

DEFENDANT Cooney, Mary Carole
DEFENDANT Coveny, Michael P.
DEFENDANT Daniell, Phil
DEFENDANT Daniels, Maxine

DEFENDANT DeKalb County Board of Registrations
and Elections

DEFENDANT Eveler, Janine

DEFENDANT Fulton County Board of Registration
and Elections

DEFENDANT Harp, Seth

DEFENDANT Johnson, Aaron

8/8/17, 6:13 PM
2 of 4

Case 1:17-cv-02989-AT

DEFENDANT Kemp, Brian

DEFENDANT King, Merle

DEFENDANT Lewis, Anthony

DEFENDANT Matarazzo, Stan

DEFENDANT Nuriddin, Vernetta

DEFENDANT Perry, Leona

DEFENDANT Pettit, Joe

DEFENDANT Simpson, Ralph ("Rusty") F.

DEFENDANT State Election Board

DEFENDANT Sullivan, Rebecca N.

DEFENDANT Tillman, Samuel E.

DEFENDANT Vu, Baoky N.

DEFENDANT Wilson, Darryl O.

DEFENDANT Worley, David J.

PLAINTIFF Coalition for Good Governance

PLAINTIFF Curling, Donna

PLAINTIFF Davis, Ricardo

Document Tip iG o. DHOB HT ty oh BUR Oh Gem CaseDetail.aspx?Cas...

BRYAN M WARD
Retained
999 PEACHTREE STREET,
NE
ATLANTA, GA 30309-3996

404-853-8000(W)

BRYAN M WARD
Retained
999 PEACHTREE STREET,
NE
ATLANTA, GA 30309-3996

404-853-8000(W)

BRYAN M WARD
Retained
999 PEACHTREE STREET,
NE
ATLANTA, GA 30309-3996

404-853-8000(W)

8/8/17, 6:13 PM
3 of 4

PLAINTIFF

PLAINTIFF

PLAINTIFF

PLAINTIFF

08/07/2017
08/07/2017
08/07/2017
08/07/2017
08/04/2017
08/04/2017
08/02/2017
07/26/2017
07/07/2017
07/03/2017
07/03/2017
07/03/2017

 

Case 1:17-cv-02989-AT

Document 1-1 Filed 08/08/17 Page 3 of 4

http://justice.fultoncountyga.gov/PA SupCrtCM/CaseDetail.aspx?Cas...

Digges, Laura

Digges, William, III.

Price, Donna

Schoenberg, Jeffrey

BRYAN M WARD
Retained

999 PEACHTREE STREET,

NE

ATLANTA, GA 30309-3996

404-853-8000(W)

BRYAN M WARD
Retained
999 PEACHTREE STREET,
NE
ATLANTA, GA 30309-3996

404-853-8000(W)

BRYAN M WARD
Retained
999 PEACHTREE STREET,
NE
ATLANTA, GA 30309-3996

404-853-8000(W)

BRYAN M WARD
Retained
999 PEACHTREE STREET,
NE
ATLANTA, GA 30309-3996

404-853-8000(W)

EVENTS & ORDERS OF THE COURT

OTHER EVENTS AND HEARINGS

SHERIFF'S ENTRY OF SERVICE
PROPOSED ORDER

AFFIDAVIT OF SERVICE
MOTION

MOTION

CERTIFICATE OF SERVICE
CERTIFICATE OF SERVICE
SUMMONS

NOTICE

SUMMONS

CASE INITIATION FORM
PLAINTIFF'S ORIGINAL PETITION

 

08/04/2017
08/04/2017

08/08/2017
08/08/2017

08/08/2017
08/08/2017

 

FINANCIAL INFORMATION

PLAINTIFF Coalition for Good Governance
Total Financial Assessment

Total Payments and Credits

Balance Due as of 08/08/2017

Transaction Assessment
Efite GA Electronic
Payment

Transaction Assessment
Efile GA Electronic
Payment

Transaction Assessment
Payment

Receipt # 2017-84123

Receipt # 2017-84228

Receipt # 2017-84271

 

52.00
52.00
0.00
1.00
(1.00)
1.00
(1.00)

50.00
(50.00)

Coalition for Good Governance

Coalition for Good Governance

Coalition for Good Governance

8/8/17, 6:13 PM
4 of 4

07/05/2017
07/05/2017

07/26/2017
07/26/2017

Case 1:17-cv-02989-AT Document 1-1 Filed 08/08/17 Page 4 of 4
http://justice. fultoncountyga.gov/PASupCrtCM/CaseDetail.aspx?Cas...

PLAINTIFF Curling, Donna
Total Financial Assessment
Total Payments and Credits
Balance Due as of 08/08/2017

Transaction Assessment

Se oon Receipt # 2017-81785
Payment

Transaction Assessment

Payment Receipt # 2017-83306

Curling, Donna

WARD, BRYAN M

637.00
637.00
0.00
487.00
(487.00)

150.00
(150.00)

8/8/17, 6:13 PM
